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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

   ISRAEL ROSELL and ROBERTO
   GONZALEZ, for themselves and on
   behalf of those similarly situated,
                                                 Case No.: 1:20-cv-20857-KMW
                 Plaintiffs,

   vs.

   VMSB, LLC, d/b/a GIANNI’S and d/b/a
   CASA CASUARINA, a Florida Limited
   Liability Company

                 Defendant.
                                        /

         UNOPPOSED MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT
            AND ENTRY OF AN ORDER OF DISMISSAL WITH PREJUDICE
                 AND INCORPORATED MEMORANDUM OF LAW

   I.     INTRODUCTION

          Plaintiffs ISRAEL ROSELL and ROBERTO GONZALEZ (“Named Plaintiffs”) without

   opposition, move the Court for approval of the settlement agreement entered into in this action

   (the “Agreement” or the “Settlement Agreement”) and entry of an order of dismissal with

   prejudice of Counts III of the Amended Complaint. The Parties do not seek dismissal as to

   Counts I and II, regarding which Plaintiff’s Objections to the Magistrate Judge’s Report and

   Recommendations remain pending. The parties have exchanged voluminous pay and time

   records, Defendant, Named Plaintiffs and the Opt-In Plaintiffs (collectively, “Plaintiffs”) have

   responded to discovery, briefed summary judgment and prepared for trial, and the Parties have

   engaged in extensive settlement negotiations, including a day of mediation with an experienced

   mediator, Neil Flaxman, Esq., which was not successful. Absent resolution of Count III through

   this settlement, the Parties would have incurred additional risk and expense in preparing for and
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   conducting a trial in this matter. All Parties are in agreement that the settlement reached, and as

   to which the Parties move for approval is a fair resolution of the matter, preferable to the risk and

   expense of trial. As a result, the Parties have agreed that the terms reflected in the Agreement

   are mutually satisfactory and represent a reasonable compromise of the claims of the Named

   Plaintiff and Opt-in Plaintiffs (collectively referred to as “Plaintiffs” in this motion) for the

   claims asserted, in light of the proof required and Defendant’s defenses to Plaintiffs’ claims. The

   Court’s approval and entry of an order dismissing Count III with prejudice upon notification of

   receipt of payment will consummate the Agreement between the Parties. The grounds for this

   unopposed motion are set forth below.

   II.     FACTUAL BACKGROUND

           1.      Plaintiffs filed suit in the Southern District of Florida, Miami Division, on or

   about January 26, 2020, against VMSB, LLC d/b/a Gianni’s, a single-location Miami restaurant.

   Named Plaintiffs asserted claims under the FLSA for minimum wage and overtime violations

   and sought wages and liquidated damages, as well as attorneys’ fees and costs.

           On May 5, 2020, Named Plaintiffs moved for collective certification as to all servers and
           bartenders at VMSB, LLC for the preceding three years. On July 7, 2020, the Court
           granted Plaintiffs’ Motion, and notice was sent to approximately one hundred twenty
           three (123) class members. There are currently twenty six (26) members of the collective,
           including the named Plaintiffs.1 In the Complaint and in the course of the litigation,
           Plaintiffs alleged inter alia that they were not paid proper overtime premiums for hours
           worked over forty in a workweek.

           2.      Defendant maintained that it was not required to pay overtime, because the

   Plaintiffs were exempt commissioned sales employees.

           3.      Magistrate Judge Torres issued a report and recommendation as to Count III,


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     One individual was erroneously included in the class list and opted in, but his consent was subsequently
   withdrawn, as he was not a server or bartender.



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   finding issues of fact requiring a trial regarding whether Plaintiffs were owed overtime

   premiums.

           4.     Plaintiffs and Defendant dispute whether collective action certification is

   appropriate.

           5.     The parties have a bona fide dispute under the FLSA as to whether Plaintiffs are

   owed overtime premiums for hours over forty.

           6.     The Consent to Become a Party Plaintiff, executed by each of the Opt-In

   Plaintiffs (“Opt-In Form”), provided that the Opt-In Plaintiff agreed to be bound by any

   settlement agreement reached in the collective action. It states as follows:

                   By my signature below, I hereby authorize the filing and prosecution of
           the above-styled Fair Labor Standards Act action in my name and on my behalf
           by the above-representative Plaintiff and designate the class representatives as
           my agents to make decisions on my behalf concerning the litigation, the method
           and manner of conducting the litigation, the entering of an agreement with
           Plaintiff’s counsel concerning Plaintiff’s attorney fees and costs, and all other
           matters pertaining to this lawsuit.

           7.     Through their respective counsel, the Parties engaged in extensive settlement

   negotiations and Defendant shared voluminous data with Plaintiffs relating to the pay and time

   records of Plaintiffs and the Opt-in Plaintiffs. Undersigned counsel spent dozens of hours in

   painstaking review and analysis of this data, and it was due to this extensive and detailed review

   that the Parties were able to reach the Agreement to resolve the matter as to which they now seek

   approval.

           8.     At the conclusion of nearly twenty months of litigation, on the eve of trial, the

   Parties reached an agreement as to the material terms of the settlement of Count III, as to the

   overtime claims of Plaintiffs.
          9.     The terms of the settlement reached between the Parties were memorialized in the

   Agreement attached hereto as Exhibit A. Although Defendant vehemently denies any liability in


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   this matter, in the interest of resolution, and in light of the uncertainties of litigation, Defendant

   agreed as part of the settlement to pay each Named Plaintiffs and Opt-In Plaintiff a significant

   portion of the wages and liquidated damages that each claimed to be owed to him/her.

           10.    While the Named Plaintiffs have signed the Settlement Agreement, no Opt-In

   Plaintiffs will be bound by the resolution unless and until he or she cashes or deposits his/her

   settlement checks, which will be delivered with a Notice (Attached to the Settlement Agreement

   as Exhibit B) fully explaining the calculation of the settlement payment and the release of claims

   effected by cashing or depositing the settlement payment.

           11.    Under the Settlement Agreement, the twenty-six collective members will share in

   a total sum of $129,224.60.

          Individual Settlement payments will be calculated according to a formula that guarantees

   that each Opt-In will receive an amount equal to the greater of the following:

          (a)     75% of the amount they would have been owed in overtime wages if they had

   succeeded in proving liability under Count III, and an equal amount as liquidated damages on

   that amount; or

           (b)    $400.00.

           12.    A chart detailing the amounts to be paid to each Named Plaintiff and Opt-In

   Plaintiff is attached to the Settlement Agreement as Exhibit A thereto.

           13.    Similarly, the Parties negotiated the attorneys’ fees to be paid. The amount

   negotiated to be paid to Plaintiffs’ attorneys is $65,775.40. While this represents only a fraction

   of the fees and costs incurred in the matter, Plaintiffs’ counsel limited the amount of fees sought

   in connection with Count III in order to reach a resolution on terms favorable to Plaintiffs on that

   claim. Should Plaintiffs prevail on Counts I and/or II of the Amended Complaint, Plaintiffs have



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   reserved the right to seek the remainder of the attorneys’ fees incurred in connection with the

   action as a whole.


           14.     Based upon the authorizations and agreements provided in their Opt-In Forms, the

   Opt-In Plaintiffs have agreed to be bound by any resolution reached in this matter. Thus, once

   approved by the Court as fair and reasonable, the payments listed in the settlement agreement

   will be distributed to the collective.

           15.     Courts have recognized that approval of FLSA settlements is warranted when the

   settlement is fair and reasonable. Thus, here, the Court may approve the Parties’ Settlement

   Agreement. In this case, there were multiple disputed issues among the Parties, and the

   settlement negotiated and reached by the Parties nonetheless provides all of those who are

   releasing their claims with relief that is reasonable in light of the claims raised and proof offered.

           16.     As such, Plaintiffs now file this unopposed motion requesting the Court to

   approve the Parties’ Agreement and to dismiss this action with prejudice upon notification that

   payment has been made.

   III.    MEMORANDUM OF LAW

           A. THIS COURT SHOULD APPROVE THE PARTIES’ SETTLEMENT
               AGREEMENT BECAUSE THE AGREEMENT IS A REASONABLE
               COMPROMISE OF CLAIMS.

           In the context of a private lawsuit brought by an employee against an employer under

   section 216(b) of the FLSA, in reaching a settlement, the parties may present the district court

   with a proposed settlement, and the district court may enter an order approving the fairness of the

   settlement, and dismissing the case. Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350,

   1353 (11th Cir. 1982); see also Sculte, Inc. v. Gandi, 328 U.S. 108 (1946); Jarrad v.

   Southeastern Shipbuilding Corp., 163 F.2d 960, 961 (5th Cir. 1947). In detailing the



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   circumstances justifying court approval of an FLSA settlement in the litigation context, the

   Eleventh Circuit has stated:

           Settlements may be permissible in the context of a suit brought by employees
           under the FLSA for back wages because initiation of the action by the employees
           provides some assurance of an adversarial context. The employees are likely to
           be represented by an attorney who can protect their rights under the statute. Thus,
           when the parties submit a settlement to the court for approval, the settlement is
           more likely to reflect a reasonable compromise of disputed issues than a mere
           waiver of statutory rights brought by an employer’s overreaching. If a settlement
           in an employee FLSA suit does reflect a reasonable compromise over issues,
           such as FLSA coverage or computation of back wages that are actually in
           dispute, we allow the district court to approve the settlement in order to promote
           the policy of encouraging settlement of litigation.

   Lynn’s Food Stores, 679 F.2d at 1354. Thus, when presented with a motion to approve a

   settlement agreement, the district court must scrutinize the settlement to ensure that it is a fair

   and reasonable resolution of a bona fide dispute. See Roldan v. Windhover Ass’n, Inc., No. 6:06-

   cv-1097-0r1-28JGG, 2007 WL 778958, at *3 (M.D. Fla. Mar. 9, 2007) (recognizing that, when

   determining whether a settlement is fair and reasonable, courts should consider: (1) the existence

   of fraud or collusion behind the settlement; (2) the complexity, expense, and likely duration of

   the litigation; (3) the stage of the proceedings and the amount of discovery completed; (4) the

   probability of the plaintiffs’ success on the merits; (5) the range of possible recovery; and (6) the

   opinions of counsel (citing Leverso v. SouthTrust Bank of Ala., Nat’l Assoc., 18 F.3d 1527, 1531

   n.6 (11th Cir. 1994)).

           Here, the Parties’ Settlement Agreement is fair and reasonable because it involves

   disputed claims, and because it was reached after the Parties exchanged extensive documents and

   information bearing on the Plaintiffs’ claims, after the Parties received legal advice from their

   counsel who analyzed the legal and factual issues involved in the case, and after the Parties

   attended a full day of mediation and thereafter conducted full discovery, dispositive motion



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   briefing, and preparation for trial. The certain relief afforded by this settlement, prior to trial, and

   without the perils and uncertainties of continued litigation, including whether or not Defendant

   could prove that Plaintiffs were commissioned sales employees, is in the best interests of all

   Parties to this matter.

                   i. The Parties’ Settlement Is Fair and Reasonable Given the Disputed Issues
                      in the Case and the Considerable Expense of Additional Litigation.

           Because of the disputed issues involved in proving or refuting the Plaintiffs’ claims, as

   described above, the Parties agreed that there was significant risk, on both sides, in proceeding

   with litigation. Defendant has agreed to pay an amount that provides each Plaintiff damages that

   equal at least 75% of their allegedly owed overtime, plus an equal amount in liquidated damages

   or – put another way – a gross sum equal to 100% of their owed overtime plus half of the

   available liquidated damages thereupon. This is a reasonable compromise.
           When considering whether to approve a settlement under the FLSA, the Court should

   keep in mind the “strong presumption” in favor of finding a settlement fair. Cotton v. Hinton,

   559 F.2d 1326, 1331 (5th Cir.1977); see also Hamilton v. Frito-Lay, Inc., No. 6:05-cv-592-Orl-

   22JGG, 2007 WL 219981, *2 (M.D. Fla. Jan. 26, 2007). In other words, a “settlement is a

   compromise, a yielding of the highest hopes in exchange for certainty and resolution.” In re Gen.

   Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 806 (3d Cir.1995),

   citing Cotton, 559 F.2d at 1330.

                   ii. The Parties’ Settlement Agreement Is the Product of Detailed Analysis
                       and Negotiation, Not Collusion.

           After the Parties had an opportunity to review each others’ documents, their attorneys

   began negotiating a resolution of the FLSA claims. These negotiations lasted over the course of

   over a year, and all the way up until the eve of trial. In this resolution, each Plaintiff will receive

   an average of nearly $22.00 per overtime hour worked in additional overtime premiums.


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           By all accounts, the Parties have agreed to a fair and reasonable settlement amount, and,

   likewise, a fair and reasonable allocation of the settlement amount. Additional litigation is likely

   to be protracted and expensive. The Plaintiffs have been independently represented and

   counseled by their attorney, Angeli Murthy of Morgan & Morgan, P.A., who was obligated to

   and did, in fact, vigorously represent them throughout the litigation and the settlement process.

   Through their Opt-In Forms, each Opt- In Plaintiff gave full authority to Named Plaintiffs and

   Morgan & Morgan to settle or resolve the claims in this lawsuit, and to be bound by a collective

   action settlement of this lawsuit after same is approved by this Court as fair and reasonable.

   Additionally, each Opt-In Plaintiff will not release his or her claims until affirmatively agreeing

   to cash or deposit his or her settlement payment after receipt of Notice explaining each collective

   member’s rights under the settlement. Thus, there is no suggestion that the settlement is the

   product of collusion. Rather, the settlement is based on detailed analysis, negotiation, and legal

   advice. In light of the uncertainty of success and the considerable expense of further litigation,

   the Parties’ settlement is entirely fair and reasonable and should be approved by this Court.

          B. PLAINTIFFS’ COUNSEL’S FEES ARE REASONABLE.
          The FLSA has a fee-shifting provision which provides that reasonable attorneys’ fees

   and costs should be awarded to a prevailing party. 29 U.S.C. § 216(b). The federal courts have

   long recognized the importance of plaintiffs’ right to recover attorneys’ fees under the FLSA.

   See, e.g., Shelton v. Ervin, 830 F.2d 182, 183 (11th Cir. 1987) (FLSA’s fee recovery provision

   is not collateral to the merits of an FLSA lawsuit, but rather, is an “integral part of the merits”

   of the lawsuit). A prevailing plaintiff “should ordinarily recover an attorney’s fee unless

   special circumstances would render such an award unjust.” Hensley v. Eckerhart, 461 U.S.

   424, 429 (1983) (quoting S. Rep. No. 94-1011, at 4 (1976), 1976 U.S.C.C.A.N. at 5912). It is

   well established that when a representative party has conferred a substantial benefit upon a


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   class, counsel is entitled to an allowance of attorneys’ fees based upon the benefit obtained.

   Camden I Condominium Ass’n, Inc. v. Dunkle, 946 F.2d 768, 771 (11th Cir. 1991); Boeing Co.

   v. Van Gemert, 444 U.S. 472, 478 (1980).

           Here, the Parties negotiated the amount of attorneys’ fees separately from the amounts to

   be paid to the Plaintiffs in the Settlement and only after agreeing to the amounts of Plaintiff and

   each Opt-in Plaintiffs settlement, with Plaintiffs’ counsel lowering their fee at the end to ensure

   that each Plaintiff received the greater of 75% of allegedly owed overtime plus an equal amount

   in liquidated damages, or $400.00. Defendant does not oppose Plaintiffs’ representation that the

   amount of fees paid to Plaintiffs’ counsel under the Parties’ Agreement is fair and reasonable. As

   such, it is appropriate for the Court to approve the Agreement. See Bonetti v. Embarq Mgmt. Co.,

   715 F.Supp.2d 1222 (M.D. Fla. 2009) (the court can ensure “that no conflict has tainted the

   settlement is for the parties to reach agreement as to the plaintiff’s recovery before the fees of the

   plaintiff’s counsel are considered[,]” and “[i]f these matters are addressed independently and

   seriatim, there is no reason to assume that the lawyer’s fee has influenced the reasonableness of

   the plaintiff’s settlement.” As such, “ if the parties submit a proposed FLSA settlement that, (1)

   constitutes a compromise of the plaintiff’s claims; (2) makes full and adequate disclosure of the

   terms of settlement, including the factors and reasons considered in reaching same and justifying

   the compromise of the plaintiff’s claims; and (3) represents that the plaintiff’s attorneys’ fee was

   agreed upon separately and without regard to the amount paid to the plaintiff, then, unless the

   settlement does not appear reasonable on its face or there is reason to believe that the plaintiff’s

   recovery was adversely affected by the amount of fees paid to his attorney, the Court will

   approve the settlement without separately considering the reasonableness of the fee to be paid to

   plaintiff’s counsel”); Helms v. Central Fla. Reg. Hosp., No. 6:05-cv-383-Orl-22JGG, 2006 WL



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    3858491, at *3-4 (M.D. Fla. Dec. 26, 2006) (The FLSA does not require the court to assess the

    fairness of an agreed payment of attorneys’ fees in settling an individual action). Here, there has

    been a reasonable compromise, and Plaintiff’s counsel’s fee was finalized after the amount to the

    collective was established. Moreover, the fees agreed in the settlement agreement represent a

    fraction of the fees actually incurred in this matter, as undersigned counsel agreed to hold

    demand for the remainder of the fees in abeyance, to be sought only if Plaintiffs prevail upon

    Counts I and/or II. This represents good faith negotiation of fees in furtherance of the interests

    of both the Plaintiffs and of judicial efficiency, and Plaintiffs respectfully submits that this

    further supports the reasonableness of the fees agreed to in connection with this resolution.

    Thus, the Court may approve the Agreement without delay.

    IV.    CONCLUSION

            WHEREFORE, the Plaintiffs respectfully submit that this Court should approve the

    Parties’ Settlement Agreement, and direct the clerk to dismiss Count III of the Amended

    Complaint with prejudice upon notification that payment in this matter has been received.

                                      CERTIFICATE OF CONFERRAL

           Pursuant to Local Rule 3.01(g), undersigned counsel certifies that she conferred with

    counsel for Defendant regarding the relief requested in this motion, and Defendant does not

    oppose the relief requested herein.

           Dated: September 27, 2021

                                                 Respectfully submitted,

                                                 /s/ Angeli Murthy_______
                                                 Angeli Murthy, Esq., B.C.S.
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                                                Email: Amurthy@forthepeople.com
                                                Attorneys for Plaintiffs

                                        CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed using the

    CM/ECF system on this 27th day of September, 2021, which I understand will send notification

    of same to all counsel of record.

                                                /s/ Angeli Murthy_______
                                                Angeli Murthy, Esq.




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